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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

UNITED STATES OF AMERICA,                             CR 23–55–M–DLC

                      Plaintiff,

vs.                                                         ORDER

TRAVIS JOHN BRANSON,

                      Defendant.


      This order refers Defendant Travis John Branson’s Motion to Change Plea

(Doc. 21) to Magistrate Judge Kathleen L. DeSoto. The Ninth Circuit joined every

other circuit in holding that magistrate judges can take guilty pleas, with consent,

under 28 U.S.C. § 636(b)(3). United States v. Reyna-Tapia, 328 F.3d 1114, 1119

(9th Cir. 2003). Accordingly, Judge DeSoto shall conduct a change of plea

hearing, provided the parties consent. The hearing will be set by separate order

from Judge DeSoto.

      IT IS FURTHER ORDERED that any pending motions are DENIED as

moot and any pending deadlines, hearings, and the trial setting are VACATED.

      DATED this 26th day of February, 2024.




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